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 1
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 6    ATTORNEY FOR Defendant,
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 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10
                                                 ******
11    UNITED STATES OF AMERICA,                          Case No.: 1:14-CR-00101-2 DAD-BAM
12                   Plaintiff,                          REQUEST FOR DEFENDANT,
                                                         TIMOTHY ORTIZ, TO APPEAR BY
13                                                       VIDEO TELECONFERENCE FROM
             v.
                                                         THE NORTHERN DISTRICT OF
14                                                       ILLINOIS; ORDER

15    TIMOTHY ORTIZ,
                                                         Date: April 21, 2016
16                   Defendant.                          Time: 11 A.M.
                                                         Hon. Barbara A. McAuliffe
17

18           Defendant, TIMOTHY ORTIZ, by and through his attorney, Anthony P. Capozzi,
19    hereby requests this Court for an order permitting him to waive his personal appearance at the
20    arraignment scheduled for Thursday, April 21, 2016, and instead appear by video conference
21    from the United States District Courthouse in Chicago, Illinois. This request is made pursuant
22    to Federal Rule of Criminal Procedure 10(c).
23           The government filed a superseding indictment against Mr. Ortiz on April 14, 2016.
24    Mr. Ortiz has previously pleaded not guilty and intends to resolve these charges by a jury trial.
25    Due to the return of the superseding indictment, it is necessary to arraign Mr. Ortiz on the new
26    charges. He currently resides in the Northern District of Illinois and does not have the funds
27    to fly to California merely to enter a not guilty plea. Defense counsel has provided a copy of
28    the superseding indictment to Mr. Ortiz and has reviewed the charges with him. It is Mr.
     Case 1:14-cr-00101-DAD-BAM Document 201 Filed 04/18/16 Page 2 of 2
 1    Ortiz’s intention to enter a not guilty plea at the arraignment. The Defense respectfully

 2    requests that the Court permit Mr. Ortiz to appear before this Court on April 21, 2016, at 11

 3    a.m. PDT by video conference whereby he will appear in the United States District

 4    Courthouse in Chicago, Illinois at a space to be designated by the Clerk’s Office in the

 5    Norther District of Illinois. Pursuant to Fed. R. Crim. P. 10(b)(2), Mr. Ortiz consents to be

 6    arraigned by video teleconferencing. At all times, he will be represented by the undersigned

 7    who will appear before this Court at the arraignment.

 8
      DATED:         April 14, 2016      By: /s/Timothy Ortiz
 9                                           TIMOTHY ORTIZ
10                                             Respectfully submitted,
11
      DATED:         April 14, 2016      By: /s/Anthony P. Capozzi
12                                           ANTHONY P. CAPOZZI
                                             Attorney for Defendant TIMOTHY ORTIZ
13

14                                               ORDER
15            The Court having reviewed Defendant Timothy Ortiz’s request to appear by video
16    teleconference and upon finding good cause, hereby GRANTS the Defendant’s request to
17    appear at the arraignment scheduled for Thursday, April 21, 2016, at 11 a.m. PDT by video
18    teleconference from the United States District Courthouse in Chicago, Illinois. The Defendant
19    shall report to the United States District Courthouse in Chicago, Illinois on the above date at
20    1:00 p.m. CDT, at a room to be designated by the Clerk’s Office in the Northern District of
21    Illinois.
22

23    IT IS SO ORDERED.
24
          Dated:    April 18, 2016                            /s/ Barbara A. McAuliffe            _
25                                                     UNITED STATES MAGISTRATE JUDGE
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